                  IN THE UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA               )
                                       )
                    Plaintiff,         )
                                       )
            v.                         )     CASE NO. 19-Cr-00286(AMD)
                                       )
ROBERT S. KELLY                        )
                                       )
                    Defendant.         )



            DEFENSE COUNSEL’S REQUEST TO WITHDRAW


      Now comes defense counsel for Defendant, Robert S. Kelly, in this matter,
by and through his undersigned counsel, requesting he be allowed to withdraw as
counsel of record. In support he states as follows:


      1. On June 23rd, 2021, Deveraux L. Cannick of the Law Firm of Aiello &
         Cannick was retained to assist in his trial before Your Honor.
      2. The trial concluded on September 24th, 2021.
      3. The jury returned a verdict on September 27th, 2021.
      4. Robert S. Kelly retained the Bonjean Law Group, PLLC to handle post-
         trial motions and other proceedings.
      5. Jennifer Bonjean filed her Notice of Appearance on October 29th, 2021.
      6. It is our understanding that Ms. Bonjean is scheduled to a file post-trial
         motions on February 3rd, 2022.
      Please know that Robert S. Kelly consents to my request.

      Given, the foregoing, I respectfully request that I be permitted to withdraw
as defense counsel for Robert S. Kelly, defendant.


                                             Respectfully submitted,

                                             /s/ Deveraux L. Cannick

                                             Deveraux L. Cannick

                                             AIELLO & CANNICK
                                             69-06 Grand Avenue
                                             Maspeth, New York 11378
                                             (718) 426-0444
                                             Fax – (718) 803-9764
                                             dcannick@aiellocannick.com
